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|N THE UNiTED STATES DlSTRiCT COURT % me

FOR THE WESTERN D|STR|CT OF TENNESSEE 05 JUN __8 PH tr |6
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TERR|CK K|NG W.D, UF Tf‘»‘. ivl§:`:f\£p§°fls
P|aintiff,
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vs. civil Action No. 03-2974-;%1
UN|TED STATES OF AN|ER!CA,
Defendant.

CONSENT ORDER OF DISM|SSAL WlTH PREJUD|CE
This matter came before the Court upon the joint request of the Plaintiff and defendant,
United States of America, for a dismissal of the Compiaint with prejudice as to all claims against
the United States, in that a settlement has been reached and all issues have been resolved by
agreement lt is, therefore, by the Court ORDERED that the request for dismissal with prejudice
is hereby granted and that all claims againstthe United States in this action are hereby dismissed

with prejudice, the parties hereto bearing their own costs and fees.

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Lee J. B|oomfie|d
Attorney for P|aintiff

 

    

Harriett Nliller
Assistant United States Attorney
Attorney for the Defendant

United States of America docw §heetin° 0 f

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:03-CV-02974 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Diane Vescovo
US DISTRICT COURT

